      Case 1:01-cv-12257-PBS Document 6583-2 Filed 10/08/09 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


 IN RE: PHARMACEUTICAL INDUSTRY              )
 AVERAGE WHOLESALE PRICE                     )
 LITIGATION                                  )   MDL NO. 1456
                                             )   Master File No. 01-12257-PBS
                                             )
 THIS DOCUMENT RELATES TO                    )
                                             )   Subcategory Case No. 06-11337
 United States of America ex rel. Ven-A-     )
 Care of the Florida Keys, Inc. v. Abbott    )
 Laboratories, Civil Action No. 06- 11337    )   Hon. Patti B. Saris
                                             )
 United States of America ex rel. Ven-A-     )
 Care of the Florida Keys, Inc. v. Dey       )
 L.P., et al., Civil Action No. 05- 11084    )
                                             )
 United States of America ex rel. Ven-A-     )
 Care of the Florida Keys, Inc. v.           )
 Boehringer Ingelheim Corp., et al., Civil   )
 Action No. 07- 10248                        )
                                             )
 United States of America ex rel. Ven-A-     )
 Care of the Florida Keys, Inc. v. Abbott    )
 Laboratories, Civil Action No. 07-11618     )



[PROPOSED] ORDER ON CONSENT MOTION TO MODIFY BRIEFING SCHEDULE
          AND CONSOLIDATE OPPOSITION TO DEFENDANTS’
        MOTIONS TO DISMISS INTO ONE MEMORANDUM OF LAW

       THIS CAUSE is before the Court upon the parties CONSENT MOTION TO MODIFY

BRIEFING SCHEDULE AND CONSOLIDATE OPPOSITION TO DEFENDANTS’

MOTIONS TO DISMISS INTO ONE MEMORANDUM OF LAW, it is hereby ORDERED as

follows:

       1.    The Motion is granted;
       Case 1:01-cv-12257-PBS Document 6583-2 Filed 10/08/09 Page 2 of 3



                                                                              MDL NO. 1456
                                                              Master File No. 01-12257-PBS
                                                            Subcategory Case No. 06-11337

       2.     With respect to United States of America ex rel. Ven-A-Care of the Florida

Keys, Inc. v. Abbott Laboratories, Civil Action No. 06-11337 (“Abbott Case No. 06-11337),

United States of America ex rel. Ven-A-Care of the Florida Keys, Inc. v. Dey L.P., et al.,

Civil Action No. 05- 11084 (the “Dey Case”) and United States of America ex rel.

Ven-A-Care of the Florida Keys, Inc. v. Boehringer Ingelheim Corp., et al., Civil Action No.

07- 10248 (the “Roxane Case”), further proceedings on the Defendants’ motions to dismiss

and supporting memoranda (Abbott, Master Docket 6179 & 6183; Roxane Master Docket

6196 & 6197; Dey Master Docket 6206 & 6209), and Plaintiffs’ responses to those sections

of Defendants’ summary judgment memoranda related to each Defendant’s motion to

dismiss (Roxane/BI SJ Memo at 35-37; Abbott SJ Memo at 39-40; and, Dey SJ Memo at

39-40) shall be deferred until after the conclusion of the parties’ summary judgment

briefing, as follows:

                        Oppositions due: November 2, 2009

                        Replies due: November 23, 2009

                        Surreplies due: December 11, 2009

       3.     The Relator may consolidate its Opposition to the Motions to Dismiss in the

Dey Case,      the Roxane Case and the Abbott Case Number 06-11337 into one

memorandum of law not to exceed 50 pages.

       4.     With respect to United States of America ex rel. Ven-A-Care of the Florida

Keys, Inc. v. Abbott Laboratories, Civil Action No. 07-11618 (“Abbott Case No. 07-11618"),



                                             2
      Case 1:01-cv-12257-PBS Document 6583-2 Filed 10/08/09 Page 3 of 3



                                                                             MDL NO. 1456
                                                             Master File No. 01-12257-PBS
                                                           Subcategory Case No. 06-11337

the Order on the Joint Motion to Set Revised, Agreed Upon Briefing Schedule entered by

the Court on July 16, 2009 shall be modified as follows:

                    Responses/Oppositions due: November 2, 2009

                    Replies due: December 4, 2009

                    Sur-replies, if any, due: December 18, 2009

      5.     The Relator may incorporate its Opposition to the Motions to Dismiss filed in

the Dey Case, the Roxane Case and Abbott Case No. 06-11337 by reference within its

Opposition to the Motion to Dismiss filed in Abbott Case No. 07-11618.

      ORDERED IN CHAMBERS at BOSTON, MASSACHUSETTS this ___ day of

__________, 2009.



                                  UNITED STATES DISTRICT JUDGE PATTI B. SARIS




                                           3
